Case 3:21-cr-30172-SPM Document1 Filed 11/17/21 Pageiof2 Page ID#1
F FILED -»

IN THE UNITED STATES DISTRICT COURT NOV 17 2024

FOR THE SOUTHERN DISTRICT OF ILLINOIS CLERK, U.S, Dis;

SOUTHERN DISTRICT ¢ ee

OF ILLINOIS

UNITED STATES OF AMERICA, EAST ST. LOUIS OFFICE

Plaintiff,

)
vs. CRIMINAL NO.cA [-30 | 12-ShM
)
)
)
)

WENDY E. PARKER, Title 18 U.S.C. §§ 1344(2) and 1028A
Defendant.
INDICTMENT
THE GRAND JURY CHARGES:

COUNT 1
Bank Fraud — 18 U.S.C. § 1344(2)

l. On or about July 30, 2019, in St. Clair County, within the Southern District of
Ulinois, the defendant,
WENDY E. PARKER,
did knowingly devise and attempt to execute a scheme to obtain money and funds owned by, and
in the custody and control of Citibank, N.A., the deposits of which were insured by the Federal
Deposit Insurance Corporation, by means of materially false and fraudulent pretenses,
representations, and promises.
2. On or about July 30, 2019, in St. Clair County, within the Southern District of
Illinois, the defendant,
WENDY E. PARKER,
for the purpose of executing the aforementioned scheme, and attempting to do so, did knowingly,
and with intent to defraud, present to an employee of Best Buy, in Fairview Heights, Illinois, a

fraudulent driver’s license bearing the name and date of birth of an individual with the initials of
Case 3:21-cr-30172-SPM Document1 Filed 11/17/21 Page 2of2 Page ID #2

fa

J.B., and caused an application to be submitted to Citibank, N.A. for a credit card in the name of
J.B., in order to obtain funds owned by, and in the custody and control of Citibank, N.A.

In violation of Title 18, United States Code, Section 1344(2).

COUNT 2
Aggravated Identity Theft — 18 U.S.C. § 1028A(a)(1)

On or about July 30, 2019, in St. Clair County, within the Southern District of Illinois, the
defendant,
WENDY E. PARKER,
knowingly possessed and used, without lawful authority, a means of identification of another
person, specifically the name and date of birth of J.B., during and in relation to a felony violation
enumerated in 18 U.S.C. § 1028A(c), namely the bank fraud offense charged in Count One,
knowing that the means of identification belonged to another actual person.

In violation of Title 18, United States Code, Section 1028A(a)(1).

A TRUE BILL

 

FOREPERSON

24st, Borer

ZOF/J. GROSS

Assistant United States Attorney
Digitally signed by STEVEN
WEINHOEFT

Silt Date: 2021.11.14 22:57:55

-06'00"

STEVEN D. WEINHOEFT

United States Attorney

 

 

Recommended Bond: $10,000 Unsecured Bond
